     Case 2:85-cv-04544-DMG-AGR Document 1020 Filed 11/09/20 Page 1 of 7 Page ID
                                     #:41776



 1   JEFFREY BOSSERT CLARK
     Acting Assistant Attorney General
 2   Civil Division
 3   WILLIAM C. PEACHEY
     Director, District Court Section
 4
     Office of Immigration Litigation
 5   WILLIAM C. SILVIS
 6
     Assistant Director, District Court Section
     Office of Immigration Litigation
 7   SARAH B. FABIAN
 8   NICOLE N. MURLEY
     Senior Litigation Counsel
 9         Tel: (202) 532-4824
10         Fax: (202) 305-7000
           Email: Sarah.B.Fabian@usdoj.gov
11
12   Attorneys for Defendants
13
                       UNITED STATES DISTRICT COURT
14                FOR THE CENTRAL DISTRICT OF CALIFORNIA
15
16
     JENNY LISETTE FLORES; et al.,           ) Case No. CV 85-4544-DMG
                                             )
17           Plaintiffs,                     ) DEFENDANT’S REPLY IN SUPPORT
18                                           ) OF MOTION TO TERMINATE
                  v.                         ) TRANSFER RESTRICTION IN
19                                           ) PARAGRAPH 4.e OF THE JUNE 26,
20   WILLIAM P. BARR, Attorney               ) 2020 ORDER, ECF NO. 833
     General of the United States; et al.,   )
21
                                             ) Hearing Date: November 13, 2020
22           Defendants.                     )
23                                           ) Hearing Time: 9:30am
                                             )
24                                           ) Hearing Location: United States
25                                           ) Courthouse, 350 West 1st Street, Los
                                             ) Angeles, CA, 90012, Courtroom 8C, 8th
26
                                             ) Floor
27                                           )
28
     Case 2:85-cv-04544-DMG-AGR Document 1020 Filed 11/09/20 Page 2 of 7 Page ID
                                     #:41777



 1        I.   INTRODUCTION
 2             Defendants reiterate their request that the Court terminate the transfer
 3   restriction contained in Paragraph 4.e. of the Court’s June 26, 2020 Order, ECF No.
 4
     833. As recently clarified by the Court, that restriction prohibits U.S. Immigration
 5
     and Customs Enforcement (“ICE”) from transferring two minors, B.B.B. and
 6
     K.J.A.B., who remain housed in an ICE juvenile detention facility, to an adult
 7
     facility when they age out of juvenile detention. Plaintiffs’ Opposition, ECF No.
 8
     1017, provides no reason why the Court should not terminate this restriction on the
 9
     transfer of these two minors. Plaintiffs still fail to properly pursue any issues related
10
     to ICE juvenile detention facilities under the Flores Settlement Agreement, and their
11
     Opposition only seeks to circumvent the Local Rules and the Federal Rules of Civil
12
13
     Procedure, while improperly asking this Court to step into the role of the

14   immigration court and overrule its decisions as to B.B.B.’s dangerousness and flight

15   risk. This Court is not the proper forum for B.B.B., or any class member, to challenge
16   such determinations. Moreover, and in any event, when an individual is no longer a
17   minor, he is not a Flores class member, and so his custody is no longer a proper
18   subject of this case. Because there is no basis to continue this restriction for B.B.B.
19   and K.J.A.B. after they are no longer class members, Defendants respectfully ask
20   that the Court issue an order terminating it.
21       II.   ARGUMENT
22             Plaintiffs provide no basis why this Court should leave in place the restriction
23   on the transfer of B.B.B. and K.J.A.B. to adult facilities when they turn 18.1 First,
24
     Plaintiffs have provided no reason why this Court could assert jurisdiction over the
25
     custody of an individual who turns 18 and is no longer a Flores class member.
26
27   1
       Plaintiffs entirely fail to address K.J.A.B.’s custody and thereby waive any
28   opposition to lifting the restriction as to him.
                                                   1
     Case 2:85-cv-04544-DMG-AGR Document 1020 Filed 11/09/20 Page 3 of 7 Page ID
                                     #:41778



 1   Plaintiffs appear to assert that the restriction is permissible as part of the Court’s
 2   authority to enforce a consent decree, Opp. 7, but this argument ignores the fact that,
 3   despite this Court’s clear direction on August 7, 2020 that “[i]ssues involving Class
 4
     Members detained at juvenile detention facilities . . . shall be raised in a duly-noticed
 5
     motion to enforce following compliance with Local Rule 7-3,” ECF No. 912 at 2,
 6
     Plaintiffs have never filed any such motion. Where there is not even a pending
 7
     motion to enforce on these issues, let alone any order by this Court enforcing the
 8
     Agreement in this regard, there is no basis upon which this Court should assert
 9
     jurisdiction over non-class-members incident to non-existent enforcement
10
     proceedings.
11
           Second, to the extent Plaintiffs assert that the transfer restriction should
12
13
     remain in place while the Court resolves allegations of noncompliance with the

14   Agreement raised in their opposition, their arguments are incorrect and procedurally

15   flawed. In their opposition, Plaintiffs do not address the arguments in the
16   government’s motion, and instead allege a litany of violations of the Agreement
17   related to B.B.B., relying on, as “evidence” of those violations, assertions that
18   Defendants did not demonstrate compliance with the Agreement in their Motion.
19   Opp. 3-5. 2 They then ask the Court to deny Defendants’ current motion without
20   prejudice and allow Defendants to again seek the same relief after requiring that they
21   first refute Plaintiffs’ assertions of noncompliance. Opp. 7-9. This is absurd. The
22   Court stated three months ago that the transfer restriction was put into place “to
23   maintain the status quo until I have a chance to actually rule on something.” Aug. 7,
24
25   2
      While Defendants do not believe that they need to respond to these allegations here,
26   Defendants attach the Declaration of Supervisory Detention and Deportation Officer
27
     Jeffrey K. Chan, which refutes several of Plaintiffs’ allegations, including their
     assertion that B.B.B. was not provided the appropriate notices of his rights under the
28   Agreement. Chan Decl. ¶¶ 6 and 7; Exhibits A, B, C, E, F.
                                                 2
     Case 2:85-cv-04544-DMG-AGR Document 1020 Filed 11/09/20 Page 4 of 7 Page ID
                                     #:41779



 1   2020 Hearing Tr. 10:3-4. That same day the Court invited Plaintiffs to file a
 2   properly-noticed enforcement motion. ECF No. 912 at 2. Plaintiffs have had every
 3   opportunity to bring allegations that Defendants are not complying with the
 4
     Agreement before this Court in a timely fashion and in the proper manner, and they
 5
     have not done so. Their suggestion that the Court should now treat their late-filed,
 6
     last-minute opposition filing as an enforcement motion turns the enforcement of this
 7
     Agreement on its head. 3 The Court should not countenance Plaintiffs’ failure to
 8
     appropriately pursue enforcement of the Agreement in accordance with the Local
 9
     Rules, the Federal Rules of Civil Procedure, and the instructions of this Court.
10
           Finally, and in any event, Plaintiffs have raised no basis why the restriction
11
     on the transfer of B.B.B. is appropriate given that B.B.B.’s custody is consistent with
12
13
     the Agreement and with applicable immigration law. B.B.B. is not subject to release

14   under Paragraph 14 of the Agreement because that Paragraph excludes minors who

15   ICE has determined are a flight risk or danger. Paragraph 21 of the Agreement then
16   allows for B.B.B.’s detention in a juvenile detention facility. See Agreement ¶ 14
17   (“Where the INS determines that the detention of the minor is not required either to
18   secure his or her timely appearance before the INS or the immigration court, or to
19   ensure the minor's safety or that of others, the INS shall release a minor from its
20   custody without unnecessary delay . . . .”); ¶ 21 (governing the detention of minors
21   in juvenile detention facilities). In the July 24, 2020 interim juvenile coordinator
22   report, ICE juvenile coordinator Deane Dougherty explained the basis for B.B.B.’s
23   custody at Cowlitz. ECF No. 882-1 at 11-12. Since that time, ICE has made
24
25   3
       As Plaintiffs are well aware, such a result would also be akin to a denial of
26   Defendants’ motion with prejudice because, as Defendants explained, a decision is
27
     needed on this issue no later than November 14, 2020, because B.B.B. will age out
     of juvenile detention and would have to be released if the transfer restriction remains
28   in place.
                                                3
     Case 2:85-cv-04544-DMG-AGR Document 1020 Filed 11/09/20 Page 5 of 7 Page ID
                                     #:41780



 1   additional assessments of B.B.B.’s flight risk and dangerousness. Helland Decl. ¶¶
 2   5 and 7. An immigration judge also determined that B.B.B. should remain detained
 3   because he is a danger and/or flight risk, and he has been denied a subsequent bond
 4
     hearing based on a finding that there have been no changed circumstances that would
 5
     affect this dangerousness analysis. Chan Decl. ¶¶ 8 and 9.
 6
           Plaintiffs appear to assert that B.B.B.’s custody is not appropriate because
 7
     they dispute the manner by which both ICE and the immigration judge concluded
 8
     that B.B.B. is a danger and a flight risk, as well as the substance of those conclusions.
 9
     Opp. 5-6. As to the manner of these determinations, Plaintiffs point to nothing in the
10
     Agreement that details the manner by which determinations of flight risk and
11
     dangerousness should be made, and their assertion that the Agreement requires a
12
13
     “reasonably current determination of dangerousness,” is not supported by the

14   Agreement’s text. Nonetheless, even if that were a requirement of the Agreement, it

15   would still not necessitate release in this case because B.B.B. has had ongoing
16   assessments of flight risk and danger, and there are recent incidents supporting the
17   agency’s conclusion that he is dangerous and should remain detained. Chan Decl. ¶
18   10; Exhibit G; July 24, 2020, ICE Interim Juvenile Coordinator Report, ECF 882-1,
19   pp. 11-12. Moreover, B.B.B. had the opportunity to have ICE’s determination
20   reviewed by an immigration judge in accordance with applicable immigration law.
21   Chan Decl. ¶ 9. Plaintiffs provide no basis upon which to conclude that the
22   Agreement requires more. To the extent that Plaintiffs simply disagree with the
23   conclusion that B.B.B. is a danger or a flight risk, this Court has made clear it does
24
     not “intend to be an appeal or appellate body over the immigration judge.” June 26,
25
     2020 Hearing Tr. at 8:14-15. Plaintiffs’ disagreement with these conclusions simply
26
     is not within the jurisdiction of this Court and does not provide a basis to leave the
27
     transfer restriction in place.
28

                                                 4
     Case 2:85-cv-04544-DMG-AGR Document 1020 Filed 11/09/20 Page 6 of 7 Page ID
                                     #:41781



 1   III.   CONCLUSION
 2          For all of the above reasons, the Court should terminate the portion of the June
 3   26, 2020 order prohibiting the transfer of B.B.B. and K.J.A.B. to adult detention then
 4
     they turn 18.
 5
 6   DATED: November 9, 2020                 Respectfully submitted,
 7
                                             JEFFREY BOSSERT CLARK
 8                                           Acting Assistant Attorney General
 9                                           Civil Division
10                                           WILLIAM C. PEACHEY
11                                           Director, District Court Section
                                             Office of Immigration Litigation
12
13                                           WILLIAM C. SILVIS
14                                           Assistant Director, District Court Section
                                             Office of Immigration Litigation
15
16                                           /s/ Sarah B. Fabian
                                             SARAH B. FABIAN
17
                                             NICOLE N. MURLEY
18                                           Senior Litigation Counsel
19
                                                    Tel: (202) 532-4824
                                                    Fax: (202) 305-7000
20                                                  Email: Sarah.B.Fabian@usdoj.gov
21
                                                    Attorneys for Defendants
22
23
24
25
26
27
28

                                                5
     Case 2:85-cv-04544-DMG-AGR Document 1020 Filed 11/09/20 Page 7 of 7 Page ID
                                     #:41782



 1                            CERTIFICATE OF SERVICE

 2
           I hereby certify that on November 9, 2020, I served the foregoing pleading on
 3
 4   all counsel of record by means of the District Clerk’s CM/ECF electronic filing
 5   system.
 6
 7
 8                                               /s/ Sarah B. Fabian
 9                                               SARAH B. FABIAN
10                                               U.S. Department of Justice
11
                                                 District Court Section
                                                 Office of Immigration Litigation
12
13                                               Attorney for Defendants
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
